Case 1:19-md-02875-RMB-SAK   Document 1984-5   Filed 03/29/22   Page 1 of 2 PageID:
                                   58440




           EXHIBIT E
Case 1:19-md-02875-RMB-SAK                            Document 1984-5               Filed 03/29/22    Page 2 of 2 PageID:
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   From: Adam Slater <ASlater@mazieslater.com>
   Date: March 23, 2022 at 6:50:18 PM EDT
   To: "Bernardo, Richard T (NYC)" <Richard.Bernardo@skadden.com>
   Subject: [Ext] Request for extension on class briefing

   ﻿Hi Rich,

   I had a chance to speak to the rest of our leadership, and you can tell the Court that we will not object, as long as all
   class cert briefing deadlines are pushed out by a week if this is granted so that it applies equally, I assume you will
   request the extension in the next agenda letter.

   Thank you,

   Adam Slater

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